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iN THE UNITED sTATEs DrsTRiCT CoUR¢D$ 0 \§/
FoR THE WESTERN Disrrucr oF TENNEssEE/ 4 2/ 4 `\Oc.
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IN THE MATTER OF THE COMPLAINT )
OF MAGNOLIA MARINE TRANSPORT )
COMPANY, AS OWNER AND )
OPERATOR OF THE M/V DENNIS ) No. l-04- lZOG~T»-An
ROSS, HER ENGINES, TACKLE, ETC. )
FOR EXONERATION FROM OR )

)

LIMITATION OF LIABILITY.

 

ORDER LIFTING STAY

 

Claimants Mary Nell Day, individually and as the surviving spouse of Wayne Day,
deceased, Wayne Day, Jr., individually and as the surviving child of Wayne Day, Jinnny
Bratcher, and Virginia Bratcher brought suit in the Circuit Court of Benton County,
Tennessee, When Wayne Day and Jimmy Bratcher Were involved in a boating collision With
a vessel of Defendant, Magnolia Marine Transport Company, owner and operator of the
M/V DENNIS ROSS. On June 5, 2004, the M/V DENNIS ROSS collided With Day’s and
Bratcher’s fishing boat at approximately mile 102 of the Tennessee River System near
Camden, Tennessee. As a result of the collision, Day Was killed and Brateher sustained

personal injuries Claimants allege that the negligence, gross negligence, and recklessness

Thls document entered on the docket sheet ln compliance fn
with Flule 58 and/or_79 (a) FRCP on §§ f ’d<§ 05 3a

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of Magnolia Marine and Johnny Partaine, the captain of the M/V DENNIS ROSS, caused
Day’s and Bratcher’s injuries Claimants seek a total of $42,000,()00.00 in damages

On August 27, 2004, Magnolia Marine filed a verified complaint in this court for
exoneration from or limitation of liability. Jurisdiction is proper under Rule F(9) of the
Supplemental Rules for Certain Admiralty and Maritime Claims of the Federal Rules of
Civil Procedure. On August 30, 2004, this court entered an order restraining and enjoining
all claims and legal proceedings against Magnolia l\/Iarine pursuant to the Limitation of
Shipowner’s Liability Act (the “Act”), 46 U.S.C. § 181 et seq., and approving Magnolia
Marine’s stipulation that the value of the l\/[/V DENNIS ROSS’ pending freight at the time
of the accident was $l,764,942.30, thus, limiting its liability to that amount.

On May 4, 2005, Claimants filed a motion to lift the stay order, which was denied
because the stipulation failed to state the priority in which the four competing claims Would
be paid from the limitation fund. Claimants then filed a renewed motion to lift the stay and
an amended stipulation stating the priority of the four competing claims On May 24, 2005,
the court denied the renewed motion to lift the stay pursuant to Comolaint of Midland
Entemrises, Inc., 886 F.2d 812 (6th Cir. 1989), and ordered Claimants to either file a motion
pursuant to the Federal Rules of Civil Procedure Supplemental Rule F(7) challenging the
ship’s value or conceding that the value is $l,764,942.30 as claimed by Magnolia Marine.
Claimants have now conceded that the value of the ship is 51,764,942.30. l\/lagnolia Marine
responded and stated that it does not object to the stay being lifted. Accordingly, the stay

of these proceedings is hereby LIFTED.

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IT IS SO ORDERED.

   

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ED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 1:04-CV-01206 was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listedl

 

 

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Honorable .l ames Todd
US DISTRICT COURT

